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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

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MONICA BERRY,              *
                           *                        No. 18-1765V
               Petitioner, *                        Special Master Christian J. Moran
                           *
v.                         *
                           *                        Filed: February 12, 2021
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
               Respondent. *
*************************

                                           ORDER
        On February 12, 2021, a status conference was held to discuss respondent’s recently filed
expert reports from Dr. He, Dr. Kleefield, and Dr. Alexander. Petitioner stated her experts have
reviewed respondent’s reports and anticipated filing responsive expert reports. Petitioner
inquired into whether an epidemiologist or biostatistician should be retained. The undersigned
stated that both parties can get a report from an epidemiologist and that such a report may be
helpful. After petitioner indicated she would likely file an expert epidemiologist’s report, the
undersigned noted that respondent should consider retaining an epidemiologist as well if this
case proceeds toward a trial.

       Accordingly, the following is ORDERED:

       1. Petitioner shall file Dr. Watanabe’s responsive expert report by Monday, March 15,
          2021.

       2. Petitioner shall file Dr. Zamvil’s responsive expert report by Tuesday, April 13,
          2021.

       3. Petitioner may also file an epidemiologist’s report by Tuesday, April 13, 2021.

       The parties may direct any questions to my law clerk, Jason Wiener, at (202) 357-6360.

       IT IS SO ORDERED.
                                                    s/Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master
